       Case 4:19-cv-03128 Document 1 Filed on 08/21/19 in TXSD Page 1 of 4



                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

THYSSENKRUPP MATERIALS NA, INC.,                      §       CIVIL ACTION NO. 4:19-cv-3128
D/B/A THYSSENKRUPP MATERIALS                          §
TRADING NORTH AMERICA                                 §
                    Plaintiff                         §
V.                                                    §
                                                      §
                                                      §
M/V ELEEN NEPTUNE, her engines, boilers,              §
tackle, etc., in rem, and OCM ATLANTIC                §
TRADER, LLC, in personam                              §
                            Defendants                §       IN ADMIRALTY


                                     ORIGINAL COMPLAINT

        Plaintiff, THYSSENKRUPP MATERIALS NA INC., D/B/A THYSSENKRUPP

MATERIALS TRADING NORTH AMERICA (Thyssenkrupp or Plaintiff), alleges for its

complaint against the M/V ELEEN NEPTUNE, in rem, and OCM ATLANTIC TRADER, LLC

(OCMl), in personam, the following causes of action which respectfully will be proven by a

preponderance of credible evidence.

    1. This claim is an admiralty and maritime claim within the meaning of 28 U.S.C. §11333 and

Rule 9(h) of the Federal Rules of Civil Procedure, or is brought pursuant to 9 U.S.C.A. §8, for

preservation of in rem security for arbitration.

    2. Plaintiff is the owner or duly authorized representative of the owners or underwriters or

subrogated underwriters of cargo shipped on board the captioned vessel which is more particularly

described in the attached Schedule A. Plaintiff's principal office and place of business is stated in

Schedule A.

    3. At all times material and on information and belief, the M/V ELEEN NEPTUNE was an

oceangoing vessel bearing International Maritime Organization (IMO) No. 9430844, weighing
         Case 4:19-cv-03128 Document 1 Filed on 08/21/19 in TXSD Page 2 of 4



approximately 55,657 gross tons, and engaged in the carriage of cargo to and/or from ports in the

United States, including, without limitation, the Port of Houston, Texas.

    4.    Defendant OCM had and now has the legal status and offices and places of business stated

in Schedule A. They were engaged in business as common carriers of merchandise by water for hire,

and were the vessel owners, operators, charterers, managers and controlled the captioned vessel which

now is, or will be, within the jurisdiction of this Court or another U.S. court of competent jurisdiction,

during the pendency of the action.

    5. The cargo described in Schedule A was sold, shipped, inspected, carried, kept, discharged and

delivered from the captioned vessel not in the same good order and condition as when received, rather,

it was delivered by defendants in non-conforming and contaminated condition, due to the fault, neglect,

deviation, unseaworthiness, maritime tort, breach of warranty, and actions/inactions of defendants,

their agents and servants

    6. Plaintiff sues on its own behalf and as agent and trustee on behalf of any other party who may

now have or hereinafter acquire an interest in this action

    7. Plaintiff has duly performed all duties and obligation on its part to be performed.

    8. Plaintiff’s damages are in excess of $1,750,000.00 for which demand has been made but not

paid. Plaintiff demands recovery from defendants, jointly and severally.

    Wherefore, Plaintiff demands that summons issue against defendants in proper form; that judgment

be entered in its favor in an amount exceeding $1,750,000.00 plus interest and the costs and

disbursements of this action; that process in due form of law according to the practice of this Court in

causes of admiralty and maritime jurisdiction may issue against the captioned vessel her engines, etc.,

and that all persons having or claiming an interest therein be cited to appear and answer under oath all

and singular the matters stated, and this Court pronounce judgment in favor of Plaintiff for its damages

together with interest, costs and disbursements, and the captioned vessel be condemned and sold in




                                                    2
       Case 4:19-cv-03128 Document 1 Filed on 08/21/19 in TXSD Page 3 of 4



satisfaction, and that this Honorable Court grant Plaintiff such other and further relief which is just and

proper.

                                             Respectfully submitted,

                                             W. SEAN O’NEIL, ATTORNEY AT LAW

                                             /s/ W. Sean O’Neil
                                             W. Sean O’Neil
                                             TBA No. 24033807
                                             1880 S. Dairy Ashford St., Suite 208
                                             Houston, Texas 77077
                                             (281) 496-0193 Telephone
                                             (281) 496-0680 Telefax
                                             Attorney for Plaintiff ThyssenKrupp Materials NA,
                                             Inc. d/b/a ThyssenKrupp Materials Trading North
                                             America




                                                    3
      Case 4:19-cv-03128 Document 1 Filed on 08/21/19 in TXSD Page 4 of 4




                                        SCHEDULE A

                 LEGAL STATUS AND PLACE OF BUSINESS OF PARTIES

Plaintiff, Thyssenkrupp Materials NA, Inc., was and now is a Delaware corporation with an
office and place of business at 22355 West 11 Mile Road, Southfield, MI 48033.

M/V ELEEN NEPTUNE (IMO 9430844) was at all material times a general cargo ship sailing
under the flag of Panama. She was built in 2009; her call sign is 3FYC6, and gross tonnage is
31,529 tons.

Defendant, OCM ATLANTIC TRADER, LLC (OCM) was and now is a foreign corporation,
or similar entity, with power to sue and be sued, which regularly does business in Texas and the
United States as a common carrier of goods, which does not maintain a designated agent in
Louisiana upon whom service can be made, and thus may be served through F.R.C.P 4(k)(2), in
care of the following:

          Majuro MH
          Marshall Islands 96960



                                   DESCRIPTION OF SHIPMENT

Vessel:                               M/V ELEEN NEPTUNE

Date of Shipment:                     May/June 2019

Port of Shipment:                     MUARA, BRUNEI

Port of Discharge:                    HOUSTON, TEXAS

Description of Cargo:                 ERW TUBING PER ATTACHED PACKING LISTS

Nature of Loss or Damage:             SEAWATER DAMAGE AND CONTAMINATION

AMOUNT:                               $1,750,000.00




                                                4
